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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                  IN RE:                            :
                               Hugh C. Postell      :     Chapter 13
                                                    :     Case No.: 18-14258-MDC
                   Debtor(s)                        :
      ____________________________________________________________________________________________

                  SUPPLEMENTAL APPLICATION FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES
                      FOR SERVICES PERFORMED AFTER CONFIRMATION OF CHAPTER 13 PLAN
                                ................................................................................................

Brad J. Sadek, Esquire applies under § 330 of the Code for an Order directing the Chapter 13 Trustee to pay an award of
compensation and reimbursement of actual, necessary expenses for services performed after confirmation of the above-
mentioned debtor's chapter 13 plan and represents:


1. The debtor(s) filed a petition under Chapter 13 of the June 27, 2018.

3. This Court has previously approved an Application for Compensation of Counsel Fees in the amount of $4,000.00.

4     Applicant requests an award of supplemental compensation of $1,000.00 for 4.2                 hours expended in providing the
      following services:


        Date                 Work Completed                                                                  By Whom Hours
        05/27/2021           Mail correspondence to Debtor informing of Motion for Relief                    Paralegal 0.5
        06/10/2021           Preparation of Response to MFR and review of the same with Debtor               Attorney  1.0
        06/25/2021           Review and execution of Stipulation with opposing counsel and review of         Attorney  0.5
                             the same with Debtor
        07/01/2021           Correspondence with Debtor regarding proposed Modified Plan                     Attorney         0.5
        07/26/2021           Preparation of Motion to Modify, Modified Plan, Amended Sch J and               Attorney         1.0
                             review of the same with Debtor
        07/26/2021           E-filing of Motion to Modify, Modified Plan, Notice of Motion, Amended           Paralegal       0.7
                             Sch J and Mail service of Modified Plan letter to Debtor

                                                                                                           Total Hours: 4.2

-5. Applicant requests that compensation be awarded at the following hourly rate(s):
           Attorney Fees: $335.00/hr
           Paralegal Fees: $125.00 hr

6. Applicant requests reimbursement of expenses in the amount of $0.00.

7. Attached as Exhibit B is a copy of the applicants time records setting forth the dates and amount of time expended for
   the services performed on behalf of the debtor after confirmation of debtor's chapter 13 plan.

8. All services rendered and expenses incurred for which compensation or reimbursement is requested


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            a. were performed or incurred for or on behalf of the debtor, the services and expenses were actual and
            necessary, and the compensation requested for those services is reasonable; and

            b. are not duplicative of services and expenses for which compensation or reimbursement was previously
            requested.

9. If this supplemental application is granted, the debtor's confirmed chapter 13 plan (check whichever is applicable)
/
                is adequately funded.

               is not adequately funded.

10. None of the compensation paid to applicant will be shared with any person other than a member or regular associate
    of applicant's law firm unless 11 U.S.C §504(c) applies.

WHEREFORE, Applicant requests an award of $ 1,000.00         in compensation and of $    in reimbursement of actual,
necessary expenses.

     Dated:    November 9, 2021                        Signed:    /s/ Brad J. Sadek, Esquire
                                                                  Applicant

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